Case 16-10407-JDW     Doc 20   Filed 05/10/16 Entered 05/10/16 13:25:31        Desc Main
                               Document Page 1 of 5


_________________________________________________________________________________

                                              SO ORDERED,



                                              Judge Jason D. Woodard
                                              United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
Case 16-10407-JDW   Doc 20   Filed 05/10/16 Entered 05/10/16 13:25:31   Desc Main
                             Document Page 2 of 5
Case 16-10407-JDW   Doc 20   Filed 05/10/16 Entered 05/10/16 13:25:31   Desc Main
                             Document Page 3 of 5
Case 16-10407-JDW   Doc 20   Filed 05/10/16 Entered 05/10/16 13:25:31   Desc Main
                             Document Page 4 of 5
Case 16-10407-JDW   Doc 20   Filed 05/10/16 Entered 05/10/16 13:25:31   Desc Main
                             Document Page 5 of 5
